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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

    In re:                                         Chapter 11

    BOY SCOUTS OF AMERICA AND                      Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                   (Jointly Administered)
                         Debtors.
                                                   Hearing Date: TBD
                                                   Objection Deadline: November 6, 2023



                    MOTION TO CHANGE ELECTION TO OPT INTO
                    EXPEDITED PAYMENT/CONVENIENCE CLASS

         AVA Law Group, Inc. (“AVA”), on behalf of certain of its clients (the “Claimants”)

identified in AVA’s previously filed 2019 statement [D.I. 7447], by and through undersigned

counsel, hereby moves (the “Motion”) this Honorable Court for entry of an order allowing

Claimants to change their election to opt into the expedited payment/convenience class. In support

of this Motion, the Claimants respectfully state as follows:

                                             FACTS

         1.    Claimants are sexual abuse survivors all of whom filed Sexual Abuse Survivor

Proofs of Claim in these bankruptcy proceedings prior to the bar date. The proofs of claims of the

sexual abuse survivors have been sealed and Claimants’ claims have assigned claim numbers as

identified on Exhibit A, attached hereto.

         2.    The Claimants each filed a Ballots for Class 8 (Direct Abuse Claims). In each such

instance, the Claimants checked a box in which they mistakenly checked a box indicating an




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  The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal
tax identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC
(4311). The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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election to receive an expedited distribution of a one-time cash payment from the Settlement Trust

in the amount of $3,500.00.

       3.      The Claimants did not intend to elect to receive the expediated distribution of

$3,500.00 as full satisfaction of their claims and they have not received nor accepted the $3,500

expedited distribution.

       4.      These Claimants have waited decades to get to this point of accountability and some

semblance of justice. These men who are represented by AVA are begging for the chance to put

their truth, their narrative, their tragic story in front of the trust. These Claimants each recognized

their error, contacted AVA at the time, signed an affidavit saying they did not intend to elect that

option, and are looking for equitable compensation for what they are eligible to receive. These

Claimants have done everything in their power to correct their errors – errors that were caused by

a long and confusing ballot. Collectively attached hereto as Exhibit B are affidavits from the

Claimants.

                                        RELIEF SOUGHT

       5.      AVA requests that this Honorable Court allow Claimants to rescind or retract the

election to limit their individual claims to $3,500 in exchange for an expedited payment and excuse

Claimants from any and all obligations concerning or related to this election to receive the $3,500

expedited cash payment as a full and final settlement of their sexual abuse survivor claims and

instead allow them, through AVA, to file either the Standard Claim or the Independent Review

Option.

                                           ARGUMENT

       6.      Claimants never intended to elect the expedited payment option, despite checking

this box, and, soon after realizing their mistake, contacted AVA to change the election, because
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they understood the consequences that the election would constitute a complete release of claims

that would be a final decision which could not be undone.

       7.      AVA never advised the Claimants to select this expedited payment option and

would not have advised them to the select this option. The ballots are complex or otherwise

confusing in that a claimant is requested to vote on whether or not to accept the $3,500 expedited

payment, in one paragraph buried in a 23 page document. But, the ballot does not mention, state

or even imply that election is final or irrevocable, and/or that it will prevent Claimants from later

choosing another option.

       8.      At the time that ballots were cast by the Claimants, it was not clear, if known at all,

what the alternatives to the expedited option were or would be either under that Plan, if approved,

or any other Plan to be later submitted and voted on, if the Plan that Claimants were voting on,

along with choosing to elect the expedited option, was not accepted in that form.

       9.      Claimants believe that their claims are worth far more than the $3,500, it would be

grossly unfair and unjust to prevent them from choosing either the Standard Option or the

Independent Review Option, where it is believed that the Claimants would receive an amount in

excess of $3,500.00. Not granting this Motion and forcing Claimants to accept $3,500 in full and

final satisfaction of their claims as opposed to allowing the Claimants to move through the claims

review process because they made a mistake in completing a lengthy and complicated form will

greatly reduce the amount of compensation they will receive. The fact that so many Claimants

inadvertently exercised this option is further proof that the ballot was confusing or otherwise

misleading.

       10.     In reviewing the Plan, it appears that one of the main purposes of the Plan is to

provide adequate compensation to sexual abuse survivors like the Claimants.              Forcing the
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Claimants to accept a smaller distribution based on a mistaken ballot election flies in the face of

the Plan’s intended purpose to look out for men like the Claimants, causing great prejudice to the

Claimants while the Trustee and Debtors would suffer no prejudice if the Claimants’ ballot

elections were changed. No distributions have been made and there will be no harm in allowing

the Claimants to move through the claim reconciliation process.

        WHEREFORE, AVA respectfully requests that the Claimants be permitted to modify their

ballots to opt out of the $3,500 expedited payment/convenience and provide such other and further

relief as is just and proper.




 Dated: October 23, 2023                          CROSS & SIMON, LLC

                                                  /s/ Kevin S. Mann
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